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                               EXHIBIT 1
               Case 2:17-cv-07240-RGK-SS Document 6-1 Filed 10/03/17 Page 2 of 29 Page ID #:49




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                 6   Attorneys for Defendant
                     MAYER HOFFMAN MCCANN P.C.
                 7
                 8
                                                UNITED STATES DISTRICT COURT
                 9
                           CENTRAL DISTRICT OF CALIFORNIA             -   WESTERN DIVISION
                10

                     CITY OF OXNARD, a municipal             CASE NO.: 2:17-cv-07240
          ~ 12       corporation,
~)


          ~ 13                     Plaintiff,         DECLARATION OF ALEXANDREA
                                                      H. YOUNG IN SUPPORT OF
     ~ 14                 v.                          DEFENDANT MAYER HOFFMAN
                                                      MCCANN P.C.’S NOTICE OF
          ~ 15       MAYER HOFFMAN MCCANN P.C., a REMOVAL OF ACTION PURSUANT
     c~   .~         Missouri corporation; and DOES 1 TO 28 U.S.C. § 1441(b)
                16   throughl00,
                17                 Defendants.               Complaint Filed:   September 15, 2017
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                      DECLARATION OF ALEXANDREA H. YOUNG IN SUPPORT OF NOTICE OF REMOVAL
            Case 2:17-cv-07240-RGK-SS Document 6-1 Filed 10/03/17 Page 3 of 29 Page ID #:50




                1                    DECLARATION OF ALEXANDREA H. YOUNG
               2
               3           I, Alexandrea H. Young, declare:
               4           1.    I am an attorney licensed to practice law in the State of California and am
               5    admitted before the United States District Court for the Central District of California.
               6    I am of counsel with the law firm of Hunton & Williams LLP, counsel of record for
               7    Defendant Mayer Hoffman McCann P.C. (“MHM”).
               8           2.    I submit this declaration in support of MHM’s Notice of Removal of
               9    Action Pursuant to 28 U.S.C.   §   144 1(b), as filed with this Court on October 2, 2017. I
              10    have personal knowledge of the facts stated herein, and if called and sworn as a
          ~ 11      witness, I would and could testify competently thereto.
     ~    ~ 12             3.    Attached as Exhibit A is a true and correct copy of all documents filed in
     ~
         ~ ~ 13     the Action (MHM has not been served with any documents): the Complaint, the Civil
          ~ 14      Case Cover Sheet, the First Amended Complaint, and the Summons on First Amended
          ~ 15      Complaint. Though these documents have not been served on MHM, MHM learned
             16     of this Action at the time it was filed on September 15, 2017 and obtained a copy of
             17     the Complaint within a couple days thereafter.
             18
             19           I declare under penalty of perjury under the laws of the United States of
             20     America that the foregoing is true and correct.
             21           Executed this 3rd day of October, 2017, at Los Angeles, California.


             23                                               By:         ~ ~J~wq
             24                                                         ALEXkNDREA H.
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Case 2:17-cv-07240-RGK-SS Document 6-1 Filed 10/03/17 Page 4 of 29 Page ID #:51




                               EXHIBIT A
       Case 2:17-cv-07240-RGK-SS Document 6-1 Filed 10/03/17 Page 5 of 29 Page ID #:52


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     \ \   4’                                                 VENTURA SUPERIOR COURT

                                                                   SEP 15 2017
                      I   Charles E. Slyngstad (SBN 89103)                              FILING FEE EXEMPT PURSUANT TO
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                          300 West 3rd Street, Suite 100E
 •                    9   Oxnard, California 93030-5714
                     10   Attorneys for Plaintiff
                          CITY OF OXNAR.D

U                    i’
                     12                          SUPERIOR COURT OF THE STATE OF CALIFORNIA

V                    13                                           COUNTY OF VENTURA

~1415                     CITY OF OXNARD, a municipal                        Case No.
Li_                       corporation,
                     16
                                                Plaintiff,
                     17                                                      COMPLAINT FOR DAMANGES FOR
                                  v.                                         NEGLIGENCE AND BREACH OF
                     18                                                      CONTRACT
                          MAYER HOFFMAN McCANN P.C., a
                     19   Missouri corporation, and DOES I througb
                          100,
                     20
                                                Defendant.
                     21    ____________________________________
                     22

                     23                                             INTRODUCTION
                     24            I.      This lawsuit concerns breaches of obligations to the City of Oxnard (“the City” or
                     ~    “Plaintiff”) committed by Defendant Mayer Hoffman McCann P.C., CPA License No. 5091
                     26   (“Mayer Hoffman” or “Defendant”). Mayer Hoffman was the City’s former auditor and firm of
                     27   certified public accountants.
                     28
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 AVTO,NI,$ Av L,.W                      COMPLAINT FOR DAMANGES FOR NEGLIGENCE AND BREACH OF CONTRACT
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     Case 2:17-cv-07240-RGK-SS Document 6-1 Filed 10/03/17 Page 6 of 29 Page ID #:53




                      1           2.      The City is a public entity located in Ventura County and governed by a five-
                  2       person City Council. The City Council consists of an elected Mayor, holding a two-year term,
                  3       and four councilmembers elected at large for four-year overlapping terms. The City Council
                  4       governs the City with the goal of promoting a sound financial base in order to adequately respond
                  5       to City residents’ and businesses’ current and ftiture needs. To accomplish this goal, the City
                  6       Council relies on independent auditors, like Mayer Hoffman, to conduct independent audits and
                  7’ accurately report on the financial health and welfare of the City.
                  8               3.      Beginning in 2004, in the exercise of reasonable diligence to protect the interests
                  9       and assets of the City, the City engaged Mayer Hoffman to audit the City’s Comprehensive
                 10       Annual Financial Report (“CAFR”) and related financial statements and matters, and to provide
                 Ii       well prepared management letters intended to reasonably inform the City and its governing body
                 12       about the financial statements and the information contained in them. Each year Mayer
                 13       Hoffman’s reports projected confidence in the City’s financial statements, compliance, and
                 14       internal controls.
                 15               4.      Mayer Hoffman’s obligations as an auditor performing audits in accordance with
               16         generally accepted auditing standards (“GAAS”) require it to know its audit client and its
               17         business, and to plan audits and assess the financial risks to its client in a professional maimer
               18         designed to obtain reasonable assurance as to whether the client’s financial statements are free of
               19         material misstatement, whether caused by fraud or error.
             20                   5.     Mayer Hoffman performed auditing and accounting services for the City from
             21           2004 through 2012. Unbeknownst to the City at the time, these services were performed in a
             22           dilatory and grossly negligent fashion, and in violation of auditing and accounting principles and
             23           standards. In the engagement for the City, Mayer Hofflnan’s audit planning and risk assessment
             24           were incomplete and insufficient, and the accounting firm’s use of internal controls testing was
             25           inadequate. The sum and substance of these issues came to light during the last two fiscal years,
             26           after the City hired Eadie + Payne LLP (EP) as its independent auditor.
             27                  6.      Mayer Hoffman could have and should have alerted the City to material errors in
             28           its financial statements, which in isolation and in the aggregate would have caused the City to
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                   I   make different decisions in its operations, fund allocations, and budgeting. Mayer Hoffman’s
                   2   grossly insufficient management letters and disclosures to the City, especially regarding the
                   3   City’s internal control environment, left the City vulnerable to serious compliance and debt
                   4   issues.
                   5                                                    PARTIES
                   6             7.       Plaintiff, a general law city, is a public entity located and operating entirely in the
                   7   County of Ventura in the State of California.
                   8             8.       Defendant Mayer Hoffman is a professional corporation organized and existing
                   9   under the laws of the State of Missouri and doing business in the County of Ventura and other
                  10   counties, including Los Angeles and Orange.
                  11             9.       The City is unaware of the true names and capacities of the Defendants sued
              12       herein as Does I through 100 and, therefore, sues these Defendants by such fictitious names. The
              13       City alleges that each of the fictitious Doe Defendants is responsible in some manner for the
              14       damages suffered by the City. The City will amend this Complaint to allege the true names and
              15       capacities of such fictitiously named Defendants when the same are ascertained. References in
              16       this Complaint to the “Defendant” includ.e references to the named Defendant and Does I through
              17       100 except where the context clearly indicates otherwise.
              18                 10.      The City alleges that, as to each cause of action with regard to the named and Doe
              19       Defendants set forth herein, each of said Defendants at times acted together to cause injury or
              20       harm to the City.
              21                                           VENUE AND JURISDJCTION
              22                 11.      The accounting services that are the subject matter of this Complaint were
              23       performed in the County of Ventura.
              24                 12.      The Complaint involves damages in excess of $25,000.
              25                                            GENERAL ALLEGATIONS
              26                 13.      From 2004 through 2012, the City contracted with Mayer Hoffman to provide
              27       auditing services concerning the City’s CAFR, including, without limitation, its June 30 fiscal
              28
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                      1    year-end financial statements. Mayer Hoffman knew Plaintiff would be using and relying upon
                      2    its auditing and accounting services, and intended for Plaintiff to rely on those services.
                      3              14.      Defendant held itself out to the public and to the City as a finn of qualified,
                      4    certified public accountants and auditors, and otherwise represented to the City that it possessed
                      5    the requisite knowledge, skill, and expertise to execute the auditing services it was hired to
                      6    perform for the City, as a public entity in the State of California. Over the course of eight years,
                      7    however, Mayer Hoffman performed substantially the same audit and staffed its audit teams with
                      8    inexperienced auditors, despite knowing the City would be using and relying upon its auditing
                      9    and accounting services.
                 10                  15.      The City had no reason to believe or to suspect that the Mayer Hoffman auditors
                 11        had committed professional negligence in its audits of the City’s financial statements because
                 12        each year Mayer Hoffman’s independent auditor’s reports stated that there were no identifiable
                 13        deficiencies (in the internal controls or accounting systems) considered to be material weaknesses
                 14       and that all financial statements presented fairly. Year after year, Mayer HotThrnn’s rubber-
                 15       stamped audits affirmed that the City’s internal controls and accounting systems were proficient
                 16       enough to provide support for the issuance of unmodified opinions of the City’s financial
                 17       statements. These unqualified audit opinions served as an assurance to the City that its own
                18        perception of its financial health was valid and that its accounting systems were reliable.
                19                  16.      Stated in the alternative, Mayer Hoffman indicated that it could confidently rely on
                20        the City’s internal controls and accounting systems because it used these very systems to gain
                21        assurance that the City’s financial statements were free from material misstatement, whether
                22        caused by fraud or error.
                23                  17.      Mayer Hoffman’s clean audit reports and assurances caused the deterioration of
                24        Oxnard’s financial situation each year. In complete contradiction to Mayer Hoffman’s audits,
                25        EP’s 2015 financial report issued qualified opinions on multiple units due to “a limitation on the
                26        audit scope resulting from the inability of the City’s capital asset accounting systems to provide
                27        information adequate to audit capital assets and construction in progress.” EP recognized that the
               28         City’s capital asset accounting systems and internal controls were inadequate and, therefore,
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                                          COMPLAINT FOR DAMANOES FOR NEGLiGENCE AND BREACH OF CONTRACT
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                    1     could not support a reliable presentation of the City’s financial statements. EP’s 2015 audit
                    2     initiated the discovery of major financial issues that were unidentified for years by the accounting
                    3     professionals at Mayer Hofftnan.
                    4             18.       Mayer Hoffman failed to perform its auditing and accounting services in
                    5     accordance with GAAS because it failed to identif~’ numerous violations of generally accepted
                    6     accounting principles (“GAAF”) and standards established by the Governmental Accounting
                    7     Standards Board (“GASB”). These violations included, but are not limited to, the following,
                    8     which a properly p]anned audit in accordance with GAAS should have disclosed and required
                    9    Mayer Hoffman to timely disclose to the City:
                   10                      (a)     Decision-making Based On False Confidence in the City’s Financial
                   ii                      Position
                   12                      If Mayer Hoffman had exercised reasonable care in the assessment of the City’s
                   13             accounting systems, it would have informed the City of the risk presented by its internal
                   14             control environment. After extensive and expensive review processes were initiated,
                   15             asset inventory and valuation consultants determined that material, inventoried moveable
                   16             assets were not recorded in the City’s finance records and that substantial records could
                   17             not be found. Additions and deletions were not maintained and these problems date back
                   18             to the years Mayer Hoffman was the City’s independent auditor;
               19                          (b)     Incorrect Assessment of Landscape and MainteDance Districts
               20                          Mayer Hoffinan never noti fled the City that twenty six (26) of its Benefit
               21                 Assessment Districts were not covering its annual operating costs. Fund balance deficits
               22                 grew to $3.1 million for the in-debt landscape and maintenance districts because the City
               23                 was using pooled cash where it should have been using monies only from the taxes or
               24                 fees received by each individual district;
               25                          (c)     Golf Course & Performing Arts Convention Center Operating Deficits
               26                          The City’s Golf Course and Performing Arts Convention Center (“PACC”)
               27                 operations have required an annual General Fund subsidy of over $1 million for the past
               28                   16 years. The City cannot cover these operating deficits. Had Mayer Hoffman issued
BvRx~, WILL~AM5 &        LA #4849-3891-1311 vZ                             5 —   —
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                                 fair and accurate audit opinions regarding the City’s financial state and debt obligations,
                    2            the City would have made operations adjustments and other decisions to avoid the
                    3            continuation of this unnecessary deficit. Additionally, a specialized internal audit
                    4            program focusing on these funds was developed by the Price Paige firm, the internal
                    5            auditor recently engaged by the City. The cost of this newly implemented program
                    6            should have been avoided;
                    7                   (d)     Dcficient Development Impact Fee Program
                    8                 During Mayer Hoffman’s years as the City’s independent auditor, the City’s
                    9            development impact fee program—created to provide the ability to charge new
                   10            developers costs associated with the pubLic infrastructure needs that result fmm
                   11            development growth—was not legally up to date. The City’s impact fees had not been
                   12            reviewed iii decades. This error resulted in significantly less financial rccoveiy for the
                   13            City’s Capital Improvement Program;
                   14                 As a result of’ years of undetected oversight, the City has had to hire a consulting
                   15            firm and acquire additional resources to develop a nexus study and a proposal for new
                   16            rates. The consulting firm confirmed that the impact fee program was majorly deficient
                   17            and exposed the City to substantial legal risk, requiring the City to immediately get into
                   18            compliance, costing upwards of $500,000; and
                   19                   (e)    Millions of Dollars In Uncollected Notes Receivables
                   20                  In 2015, EP discovered that $56 million in long-term notes receivable were not
                   21            previously booked by the City. Deferred revenues reflecting funds expected for future
                   22           repayments associated with these notes increased non-major fund liabilities. Because
                   23            Mayer Hoffman missed the lack of notes receivable, the City’s chance at collecting
                   24            repayment considerably decreased,
                   25           In addition, as the City’s auditor, Mayer Hoffman was rcquired to assess internal controls
                   26   as part of planning its audits and establishing adequate testing procedures and should have been
                   27   meticulously familiar with the gathering of information that formed the bases of the City’s
                   28   financial statements, as well as the internal controls that were put in place to ensure that the
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     Case 2:17-cv-07240-RGK-SS Document 6-1 Filed 10/03/17 Page 11 of 29 Page ID #:58




                   I    information was accurate and reliable. Indeed, GAAS requires an auditor to gain an
                   2    understanding of internal controls sufficient to assess the risk of a material misstatement. Mayer
                   3    Hoffman was in the unique position to assess, and was expected to assess in accordance with
                   4    GAAS, the quality of information the auditors were given to audit, the adequacy of support for
                   5    the City’s financial statements, and the internal controls that should have been in place to ensure
                   6    the accuracy and reliability of that information. The assessment of the City’s internal controls
                   7    performed by Mayer Hoffman in connection with its audits of the City’s financial statements did
                   8   not comport with GAAS.
                   9             19.       In a direct contravention of customs, standards, and practices that are typical in the
                  10   practice of auditing and accounting, Mayer Hoffman failed to notify the City of the following
                  11   lack of internal controls, among others, relevant to the presentation and preparation of the City’s
                  12   financial statements that were audited by Defendant:
                  13                      (a)     There were no standard procedures to create cash journal entries;
                  14                      (b)     There was no effective general ledger system and the City was using
                  15   heavily outdated HTE software with severe functional limitations;
                  16                      (c)     A reconciliation of accounts receivable against the general ledger was not
                  17   performed periodically or at year-end and the review of aging and collections for utilities was not
                  18   centralized in the Finance Department;
                  19                      (d)     There were no written accounting policies and procedures that specified the
              20       correct treatment for estimating the allowance for uncollectible accounts and bad debt expense;
              21                          (e)     There were no policies or procedures in place to capture new debt
              22       agreements and capital leases; and
              23                          (f)     The City improperly recorded the municipal golf course and PACC funds
              24       as business-type activities instead of government-type activities.
              25                20.       Mayer Hoffman consistently rated control risk as low for the City, despite the
              26       obvious deficicncies. Although Mayer Hoffman will argue today that the City should have
              27       discovered the internal controls and accounting systems issues affecting the City’s operations, or
              28       should have had different financial recommendations from its staft the fact is that Mayer
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                         1    Hoffman’s failure to understand, appreciate, or bring to the Plaintiff’s attention the material issues
                      2       invoLved in the internal control environment left the City vulnerable to the compliance,
                      3       administrative, accounting, and financial issues it now faces.
                      4                21.      Because Mayer Hoffman failed to communicate to the City the material failures in
                      5      its internal controls, and because the auditors did not modify its audit opinions as required by
                      6      GAAS when such failures led to materially misstated financial information, the City reasonably
                      7      relied upon its unqualified audit opinions.
                      8               22.      The lack of internal controls materially and substantially led to the City’s current,
                      9      jeopardized financial situation, Had the above-described internal controls been in place, the City
                     10      would not have incurred the following additional “aftermath” costs:
                     II                        (a)     Inability to Secure Letters of Credit
                     12                        Because Mayer Hoffman issued clean audits, the City entered into long-term debt
                     13                obligations with various financial institutions. Among the financial institutions
                     14                supporting the City’s debt obligations was MUFO Union Bank (“Union Bank”), which
                     15                provided letters of credit for Wastewater Revenue Bonds and Lease Revenue Bonds.
                     16                Union Bank is declining to renew its letter of credit. The City is also vulnerable to a
                     17                swap termination that would result in the need to pay off a $16 million loan immediately,
                    18                 as well as a $4 million penalty. An event of default could result in over $100 million in
                    19                 outstanding debt becoming due and payable.
                    20                         (b)    Delayed Refinancing of Outstanding Debt
                    21                         As a direct result of Mayer Hoffman’s negligence, the City will be required to
                    22                 enter the debt market to fund necessary improvements to its utility funds, as well as to
                    23                 fund government-related and business-related activities. A large debt issue can cause
                    24                 millions of dollars in interest costs to City residents, based on different credit ratings.
                    25                 Had Mayer Hoffman highlighted the serious problems in the City’s utility funds, the City
                    26                 would have made different financial decisions and would find itself in a much stronger
                    27                 financial position today, without the need for such a level of indebtedness. The City
                    28
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                   1              could have and would have pushed through rate adjustments and refinanced sooner.
                   2              Instead, the City will be subject to much higher interest rates on necessary debt.
                   3                      (c)    $16 Million Dollar Loan And Belated Infrastructure Repairs
                   4                      After uncovering the City’s true financial situation, which was unknown to the
                   5              City during and immediately after the years Mayer Hoffman issued its audits, the City
                   6              was forced to manage the serious threat of insolvency and preserve the General Fund
                   7              balance. As a result of the foregoing, the City approved a $16 million dollar loan from
                   8              the Measure 0 Fund. The original purpose of the Measure 0 ordinance was to provide
               9                  enhanced levels of vital city services, including increasing street paving and
              10                  sidewalk/pothole repair to improve traffic flow, upgrading storm water drains, improving
              11                  senior services, increasing building code compliance, and improving other infrastructure-
              12                  related City services.
              13                          Due to the necessary interfund loan, the Measure 0 repair plans had.to be put on
              14                 hold. Now, the City will have to pay more money for more complicated improvement
              15                 services. Delayed repairs could result in enhanced infrastructura] depletion. For
              16                 example, roads that might have required basic overlay will now necessitate complete
              17                 removal and replacement.
              18                         (d)     Necessary Consulting Costs
              19                         As a result of Mayer Hoffman’s deficient audits, the City hired EP to conduct a
             20                  review of over a decade of issues and material misstatements, consult with City staff and
             21                  counsel, present findings, and make hundreds of recommendations for improving the
             22                  City’s financial affairs and internal controls. EP also did a comprehensive analysis to
             23                  determine the gravity of the City’s financial position and its vulnerability to additional
             24                  material misstatements, due to fraud or error. These services have resulted in
             25                  approximately $1.2 million dollars in additional costs to the City. EP made necessary
             26                  and significant prior period adjustments, many resulting from overlooked serious issues
             27                  relating to the City’s outdated technological and industrial infrastructure. The City has
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   A’                               COMPLAINT FOR DAMANGES FOR NEGLIGENCE AND BREACH OF CONTRACT
     Case 2:17-cv-07240-RGK-SS Document 6-1 Filed 10/03/17 Page 14 of 29 Page ID #:61




                     I              also had to implement costly infonnation technology master plans, fleet maintenance,
                     2              and internal audit programs—totaling to millions of dollars in additional expenses.
                     3                                        FIRST CAUSE OF ACTION
                     4                                           (Professional Ncgli~ence)
                     5                       (Against Defendant Mayer Hoffman and Does 1 through 100)
                     6             23.       The City realleges and incorporates by reference the allegations of paragraphs 1
                     7   through 23 of this Complaint as though set forth in full.
                     8             24.      Mayer Hoffman and Does I through 100 each owed the City a duty of care, and
                     9   the duty to competently perform the auditing services that they were hired by the City to perform
                    10   in accordance with due professional care as set forth in (3AAS and as legally required by holding
                    II   themselves out as certified public accountants.
                    12             25.      By committing the errors and omissions described in detail above in this
                    13   Complaint, Mayer Hoffman and Does 1 through 100, and each of them, breached the duty of due
                    14   professional care owed to the City. The breach of these duties constitutes negligence.
                    15             26.      As a direct, legal and proximate result of the negligence of Mayer Iioffman and
                    16   Does I through 100, the City has incurred damages in an amount that will be proved at thai but
                    17   which is well in excess of the jurisdictional minimum of this court.
                18                                          SECOND CAUSE OF ACTION
                19                                                (Breach of Contract)
                20                          (Against Defendant Mayer Hoffman and Does 25 throu2h 1001
                21                27.       The City realleges and incorporates by reference the allegations of paragraphs I
                22       through 23 of this Complaint as though set forth in full.
                23                28.       The City and Mayer Hoffman entered into several written agreements in
                24       connection with the auditing services Mayer Hoffman provided to the City for each of the years
                25       between 2004 through 2012. Each agreement provides that Mayer Hoffman shall indemnii~’ the
                26       City for, among other things, any acts, errors or omissions of Mayer Hoffman, its employees,
                27       representatives, subcontractors, or agents in the performance of the auditing services.
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 SOR~.’JS8N, LLP
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     Case 2:17-cv-07240-RGK-SS Document 6-1 Filed 10/03/17 Page 15 of 29 Page ID #:62




                 1            37.      By not performing in compliance with the contractual requirements and also
                 2   engaging in the acts, errors and omissions described in detail above in this Complaint, Mayer
                 3   Hoffman legally and proximately caused the City to incur in excess of $1 million in damages,
                 4   according to proof.
                 5            38.      Mayer Hoffman breached its contractual duties to the City by refi~sing to
                 6   indemnify the City for all costs resulting from Mayer Hoffman’s acts, errors, or omissions,
                 7   including attorneys’ fees and other costs, incurred by the City in order to legally comply with
                 8   accounting and finance obligations.
                 9            39.      As a direct, legal and proximate result of the breaches of contract by Mayer
               10    Hoffman, the City has incurred damages in an amount that will be proved at trial but which is in
               ii    excess of the jurisdictional minimum of this court.
               12                                           PRAYER FOR RELIEF
               13             The City prays for judgment against Defendant Mayer Hoffman as follows:
               14             1.       For Special, General and Consequential Damages according to proof at trial.
               15             2.       For interest at the legal rate on all amounts awarded;
               16             3.       For attorney’s fees as prevailing party and costs of suit incurred herein; and
               17             4.       For further and other relief as the court deems just and proper.
               l8
               19    Dated: September 14, 2017                                  BURKE, WILLIAMS & SORENSEN, LLP


               21                                                               By:_________________
                                                                                         Charles E. Slyngs
                                                                                         Brian S. Ginter
                                                                                         Lauren T. Krapf
                                                                                Attorneys for Plaintiff
               24                                                               CITY OF OXNARD
               25
               26
               27
               28
BuR~~, WIl.I.IAMS&   LA~4849.389I-I3I1 v2                              —   11   —
  S0RINSRN. LLP
                                    COMPLAINT FOR DAMANGES FOR NEGLIGENCE AND BREACH OF CONTRACT
              Case 2:17-cv-07240-RGK-SS Document 6-1 Filed 10/03/17 Page 16 of 29 Page ID #:63
                                                                                                                                                                              CM-O10
          Arr~eRNEYOR ~ARTY wm4OUT ATrORNEY (Name Sfai..          ...   number. and address):                                             FOR COURT USeONLY
             Charles E. Slyngstad, SBN 89103                                                                                                    \I~N1’UI~A
             Burke, Williams & Sorensen, LLP                                                                                            SUPERIOR COURT
             444 S. Flower Street, Suite 2400                                                                                                 FILED
             Los Angeles, California 90071
                TELEPHONE NO.: (213)236.0600             F,4XNO.: (213)236.2700                                                             SEP 1 5.2017
          ATrORNEYF0R(Name,): Plaintiff CITY OF OXNARD                                          ~--
                                                                                                                                        MICHAE              .   PLANET
         SUPERIOR COURT OF CALIFORNIA, COUNTY OF VENTURA                                                                             Execuli
              STREETADDRESS: 800 S. Victoria Avenue                                                                           BY:                                         ,   Deputy
             MAILING ADDRESS: Post Office Box 6489
             CITYANOZIP CODE: Ventura, California 93006-6489
                  BRANCH NAME: Main Courthouse
                                                                                         .
                                                                                                                             AL ER                  ILLEGASJR~
            CASE NAME: CITY OF OXNARD v. MAYER HOFFMAN McCANN

              CIVIL CASE COVER SHEET                          Complex Case Designation            56-2017-00501459-CU-PN-VTA
          ~   Unlimited        El Limited                 fl Counter El Joinder
              (Amount                (Amount
              demanded               demanded is         Filed with first appearance by defendant                                                                                      -,

              exceeds $25,000)      $25,000 or less)         (Cal. Rules of Court, rule 3.402)     DEPT:
                                          Items 1—6 below must be completed (see instructions on page 2).

U        1. Check one box below for the case type that best describes this case:
              Auto Tort
              El Auto (22)
                                                                           Contract
                                                                           El Breach of ôontract~arranty (06)
                                                                                                                 Provisionally Complex Civil Litigation
                                                                                                                 (Cal. Rules of Court~ rules 3.400—3.403)
              El Uninsured motorist (46)                                   El Rule 3.740 collectIons (09)        El Antitrust)Trade regulation (03)
              Other PIIPDIWD (Personal InjurylProperty                     El Other collections (09)             El Construction defect (10)
              DamageiWrongful Death) Tort                                  El Insurance coverage (18)            El Mass tort (40)
              El Asbestos (04)                                             El Other contract (37)                El Securities lItIgation (28)
              El Product liability (24)                                    Real Property                         El Envlronmental!Toxlc tort (30)
              El Medical malpractice (45)                                  El Eminent domalnllnverse             El Insurance coverage claims arising from the
    ~    —
              El    Other PIIPDIWD (23)
              Non-PIIPDIWD (Other) Tort
                                                                                 condemnation (14)
                                                                           El Wrongful   eviction (33)
                                                                                                                        above listed provisionally complex case
                                                                                                                       types (41)
              El Business tortlunfair business practice (07) El    Other real property (26)         Enforcement of Judgment
              El Civil rights (08)                           Unlawful Detainer                      El Enforcement ofjudgment (20)
              El Defamation (13)                             El Commercial (31)                     Miscellaneous Civil Complaint
              El Fraud (16)                                  El Residential (32)                    El RICO (27)
              El Intellectual property (19)                  El Drugs (38)                          El Other complaint (not specified above) (42)
           ~     Professional negligence (25)                Judicial Review                        Miscellaneous Civil Petition
           El Other non-PI!PDIWD tort (35)                   El Asset forfeIture (05)               El Partnership and corporate governance (21)
           Employment                                        El Petition re: arbitration award (11) El Other petition (not specified above) (43)
           El Wrongful termination (36)                      El Writ of mandate (02)
           El Other employment (15)                          El Other judicial review (39)
        2. This case El is           ~ is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
               factors requiring exceptional judicial management:
               a. El Large number of separately represented parties d. El Large number of witnesses
               b. El Extensive motion practice raising difficult or novel e. El Coordination with related actions pending in one or more courts
                         issues that will be time-consuming to resolve                 in other counties, states, or countries, or in a federal court
               c. El Substantial amount of documentary evidence              f. El Substantial postjudgment judicial supervision
        3.     Remedies sought (check all that apply): a. ~ monetary b. El nonmonetary; declaratory or injunctive relief               c. El punitive
        4.     Number of causes of action (specify): two
        5.     ThIs case El Is ~ is not a class action suit.
        6.     If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)                   ~J      ~


                                           (TYPE OR PRINT NAME)                                                 (SIGNATURE OF PAR      RA      RNEYI~OR

                                                                                                 NOTICE
             • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cas~s~rcàses filed
               under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
               in sanctions.
             • File this cover sheet in addition to any cover sheet required by local court rule.
             • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
               other parties to the action or proceeding.
             • Unless this is a cóllectfons case under rule 3.740 or a complex case, this cover sheet will be used lbr statistical purposes only.
                                                                                                                                                                              Page lof2

        Form Adopted for Mandaly.IJ~~                                                                                        Cal. Rules of Couri, rules 2.30, 3.220, 3.400—3.403, 3.740;
          Judicial Council of California                                                                                             Cal. Standards of JudldalAdminlslrstlon, sid. 3.10
           CM.010[Rev. July 1,2007]                                                                                                                                WMA’.COUIt!flfcsCa.gov
owed                in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney’s fees, arising from a transaction in

                 Case 2:17-cv-07240-RGK-SS Document 6-1 Filed 10/03/17 Page 17 of 29 Page ID #:64
                                                         n
                                             INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
                                                                                                                                                        CM-010

           To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
           complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
           statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
           one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
           check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
           To assist you in completing the sheet, examples of the cases that belong under each case type in item I are provided below. A cover
           sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
           its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
           To Parties in Rule 3.740 Collections Cases. A “collections case” under rule 3.740 is defined as an action for recovery of money

           which property, services, or mone~’ was acquired on crédit.A collections case does not indude an adion seeking the foII~wing~ (lytort
           damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
           attachment. The identification of a case as a rule 3.740 collectIons case on this form means that it will be exempt from the general
           time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
           case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
           To Parties in Complex Cases, In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
           case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
       •   completing the appropriate boxes in items I and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
           complaint on all parties to the action. A defendant may file and servo no later than the time of its first appearance a joinder in the
           plaintiff’s designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
           the case is complex.
                                                                       CASE TYPES AND EXAMPLES
           Auto Tort                                          Contract                                          Provisionally Complex Civil Litigation (Cal.
                Auto (22)-Personal InJurylProperty               Breach of ContractMlarranty (06)               Rules of Court Rules 3.400—3.403)
                      Damage/Wrongful Death                           Breach of Rental/Lease                         AfltltrustlTrade Regulation (03)
                Uninsured Motorist (46) (if the                           Contract (not unlawful detainer            Construction Defect (10)
                      case Involves an uninsured                               or wrongful eviction)                 Claims lnvoMng Mass Tort (40)
                      motorist claim subject to                      ContractlWarranty Breach—Seller                 Securities Litigation (28)
                      arbitration, check this item                         Plaintiff (not fraud ornegilgence)        EnvlronmentallTodc Tort (30)
                      Instead of Auto)                               Negligent Breach of Contractl                   Insurance Coverage Claims
           Other PIIPDIWD (Personal Injury!                                Warranty                                        (arising from provisionally complex
           Property DamagelWrongful Death)                           Other Breach of ContractiWarranty                     case type listed above) (41)
           Tort                                                  Collections (e.g., money owed, open             Enforcement of Judgment
                Asbestos (04)                                        book accounts) (09)                             Enforcement of Jud~ment (20)
                     Asbestos Property Damage                        Collection Case—Seller Plaintiff                   Abstract of Judgment (Out of
                     Asbestos Personal lnjuryl                       Other Promissory Note/Collections                      County)
                           Wrongful Death                                 Case                                           Confession of Judgment (non-
                Product Liability (not asbestos or               insurance Coverage (not provisionally                       domestic relations)
                       toxic/envIronmental) (24)                     complex) (18)                                       Sister State Judgment
                Medical Malpractice (45)                             Auto Subrogation                                    Administrative Agency Award
                     Medical Malpractice—                            Other Coverage                                          (not unpaid taxes)
                            Physicians & Surgeons                Other Contract (37)                                     PetitionlCertlflcation of Entry of
                     Other Professional Health Care                  Contractual Fraud                                       Judgment on Unpaid Taxes
                            Malpractice                              Other Contract Dispute                              Other Enforcement of Judgment
                Other PIIPD)WD (23)                           Real Property                                                  Case
                     Premises Liability (e.g., slip              Eminent Domain/Inverse                          Miscellaneous Clvii Complaint
                     and fall)                                       Condemnation (14)                               RICO (27)
                     Intentional Bodily lnjuryIPDiWD             Wrongful Eviction (33)                             Other Complaint (not specified
                            (e.g., assault, vandalism)           Other Real Property (e.g., quiet title) (26)            above) (42)
                     Intentional Infliction of                       Writ of Possession of Real Property                 Declaratory Relief Only
                            Emotional Distress                       Mortgage Foreclosure                                injunctive Relief Only (non-
                     Negligent Infliction of                         Quiet Title                                             harassment)
                            Emotional Distress                       Other Real Property (not eminent                     MechanIcs Lien
                     Other PIIPDIWD                                  domain, landlord/tenant, or                          Other Commercial Complaint
           Non-PIIPDIWD (Other) Tort                                 foreclosure)                                            Case (non-tort/n on-complex)
                Business TorUUrifalr Business                 Unlawful Detainer                                           Other CivIl Complaint
                   Practice (07)                                 Commercial (31)                                            (non-tort/non-complex)
                Civil Rights (e.g., discrimination,              Residential (32)                                Misceiianeous Clvii Petition
                   false arrest) (not civil                      Drugs (38) (if the case involves illegal            Partnership and Corporate
                   harassment) (08)                                  drugs, check this item; otherwise,                  Governance(21)
                Defamation (e.g., slander, libel)                    report as Commercial or Residential)            Other Petition (not specified
                   (13)                                       Judicial Review                                            above) (43)                        .1..~
                Fraud (16)                                        Asset Forfeiture (05)                                  Civil Harassment
                intellectual Property (19)                        Petition Re: Arbitration Award (11)                    Workplace Violence
                Professional Negligence (25)                      Writ of Mandate (02)                                    Eider/Dependent Adult
                   Legal Malpractice                                  Writ—Administrative Mandamus                            Abuse
                   Other Professional Malpractice                     Writ—Mandamus on Limited Court                      Election Contest
                        (not medical or legal)                             Case Matter                                    Petition for Name Change
                 Other Non-Pl/PDMID Tort (35)                         Writ—Other Limited Court Case                       Petition for Relief From Late
           Employment                                                      Review                                             Claim
                Wrongful Termination (36) Other                   Other Judicial Review (39)                              Other Civil Petition
                   Employment (15)                                     Review of Health Officer Order
                                                                       Notice of Appeal—Labor
                                                                           Commissioner Appeals
           CM-01 0 [Rev. Ju’y 1. 2007]                          CIVIL CASE COVER SHEET                                                                    Page 2 of 2

                                                                                                                                             American LegalNe~, Inc.
                                                                                                                                             www.Formsworkffow.com
          Case 2:17-cv-07240-RGK-SS Document 6-1 Filed 10/03/17 Page 18 of 29 Page ID #:65

                                                  n

       ~\
                     1     Charles B. Slyngstad (SBN 89103)                              FILiNG FEE EX~3MPT PURSUANT TO
                           E-mail: cslvngstad~bwslaw.com                                 GOVERNMENT CODE § 6103
                     2     Brian S. Ginter (SBN 265786)
                           E-Mail: bginter(~bwslaw.com
                     3     LaurenT. Krapf (SBN 292115)
                           E-mail: lkrapf@bwslaw.com                                                  VENTURA
                     4     BURKE, WILLIAMS & SORENSEN, LLP                                        SUPERIOR COURT
                           444 South Flower Street, Suite 2400                                       FJ LED
                     5     Los Angeles, CA 9007 1-2953
       W             6    Tel: 213.236.0600 Fax: 213.236.2700                                      SEP 25 201?
                          Stephen M. Fischer (SBN 174221)                                        ~

                           Cu~ ATtORNEY
        ~            78    OFFICE OF ThE CITY ATtoRNEY,   CITY OF OXNARD
                          Email: stephen.flscher~oxnard.org                                BY:(JLi~kXz~J Deputy
                          300 West 3rd Street, Suite 100E                                   ADR~ANAVELASCO         .


                     9    Oxnard, California 93030-5714
                   10      Attorneys for Plaintiff
                           CITY OF OXNAIU3
                   11
                   12                              SUPERIOR COURT OF THE STATE OF CALIFORNIA
                   13                                             COUNTY OF VENTURA
                   14
                   15      CITY OF OXNARD, a municipal                           Case No. 56-2017-00501459-CU-PN--VTA

     ~                    corporation,
     _____
     ____          16                             Plaintiff,
                   17                                                            FIRST AMENDED COMPLATh~T FOR
                                   v.                                            DAMAGES FOR NEGLIGENCE AND
                   18                                                            BREACH OF CONTRACI’
                          MAYER HOFFMAN McCANN P.C., a
                   19     Missouri corporation, and DOES 1 through
                          100,
                   20
                                        Defendant.
                   21     ________________________________
                   22
                   23                                                INTRODUCTION
                   24              1.        This lawsuit concerns breaches of obligations to the City of Oxnard (“the City” or
                   25     “Plaintiff’) committed by Defendant Mayer Hoffman McCann P.C., CPA License No. 5091
                   26     (“Mayer HoflInan” or “Defendant”). Mayer Hoffman was the City’s former auditor and finn of
                   27     certified public accountants.
                   28
~   ~URKE, WJLL.IAMS &    LA #4841-1165-0640 vi                              -   I   -
      SORENSEN, LU’
       ATTO~YS At LAW        FIRST AMENDED COMPLAINT FOR DAMAGES FOR NEGLIGENCE AND BREACH OF CONTRACT
                                                 n
     Case 2:17-cv-07240-RGK-SS Document 6-1 Filed 10/03/17 Page 19 of 29 Page ID #:66

                                                                                           n
                     1            2.        The City is a public entity located in Ventura County and governed by a five-
                     2   person City Council. The City Council consists of an elected Mayor, holding a two-year term,
                     3   and four councilmembers elected at large for four-year overlapping terms. The City Council
                     4   governs the City with the goal of promoting a sound financial base in order to adequately respond
                     5   to City residents’ and businesses’ current and future needs. To accomplish this goal, the City
                     6   Council relies on independent auditors, like Mayer Hoffman, to conduct independent audits and

                     7   accurately report on the financial health and welfare of the City.
                     8            3;        Beginning in 2004, in the exercise of reasonable diligence to protect the interests
                     9   and assets of the City, the City engaged Mayer Hoffman to audit the City’s Comprehensive
                 10      Annual Financial Report (“CAFR”) and related financial statements and matters, and to provide
                 11      well prepared management letters intended to reasonably inform the City and its governing body
                 12      about the financial statements and the information contained in them. Each year Mayer
                 13      Hoffman’s reports projected confidence in the City’s financial statements, compliance, and
                 14      internal controls.
                 15               4.        Mayer Hoffman’s obligations as an auditor performing audits in accordance with
                 16      generally accepted auditing standards (“GAAS”) require it to know its audit client and its
                 17      business, and to plan audits and assess the financial risks to its client in a professional manner
                 18      designed to obtain reasonable assurance as to whether the client’s financial statements are free of
                 19      material misstatement, whether caused by fraud or error.
                 20               5.        Mayer Hoffman performed auditing and accounting services for the City from
                 21      2004 through 2012. Unbeknownst to the City at the time, these services were performed ma
                 22      dilatory and grossly negligent fashion, and in violation of auditing and accounting principles and
                 23      standards. In the engagement for the City, Mayer Hoffman’s audit planning and risk assessment
                 24      were incomplete and insufficient, and the accounting firm’s use of internal controls testing was
                 25      inadequate. The sum and substance of these issues caine to light during the last two fiscal years,
                26       2014-15 and 2015-16, after the City hired Eadie + Payne LLP (EP) as its independent auditor in
                 27      connection with the 2014-15 fiscal year audit.
                 28
BURI<E, WILLIAMS &       LA #4841-1165-0640 vi                               -2-
  SORENSEN, LLP
  ATTORMETS AT LAW
     Los ANOELES
                            FIRST AMENDED COMPLANT FOR DAMAGES FOR NEGLIGENCE AND BREACH OF CONTRACT
     Case 2:17-cv-07240-RGK-SS Document 6-1 Filed 10/03/17 Page 20 of 29 Page ID #:67
                                               n                                           n
                     1             6.    In December 2016, within two years of when the City discovered or should have
                     2   discovered the Defendants’ conduct at issue in this Complaint, the City entered into a Tolling
                     3   Agreement, subsequently extended, to toll the time within which the City may commence a
                     4   lawsuit such as the present lawsuit against Mayer Hoffman. The Tolling Agreement as extended
                     5   expired on September 15, 2017, the date on which this lawsuit originally was filed in the Superior
                     6   Court of the County of Ventura.
                     7             7.    Mayer Hoffman could have and should have alerted the City to material errors in
                     8   its financial statements, which in isolation and in the aggregate would have caused the City to
                     9   make different decisions in its operations, fund allocations, and budgeting. Mayer Hoffman’s
                  10     grossly insufficient management letters and disclosures to the City, especially regarding the
                  11     City’s internal control environment, left the City vulnerable to serious compliance and debt
                  12     issues.
                  13                                                    PARTIES

                  14               8.     Plaintiff, a general law city, is a public entity located and operating entirely in the
                  15     County of Ventura in the State of California.
                  16               9.     Defendant Mayer Hoffman is a professional ôorporation organized and existing
                  17     under the laws of the State ofMissouri and doing business in the County of Ventura and other
                  18     counties, including Los Angeles and Orange.
                  19               10.    The City is unaware of the true names and capacities of the Defendants sued
                  20     herein as Does 1 through 100 and, therefore, sues these Defendants by such fictitious names. The
                  21     City alleges that each of the fictitious Doe Defendants is responsible in some manner for the
                  22     damages suffered by the City. The City will amend this Complaint to allege the true names and
                  23     capacities of such fictitiously named Dçfendants when the same are ascertained. References in
                  24     this Complaint to the “Defendant” include references to the named Defendant and Does I through
                  25     100 except where the context clearly indicates otherwise.
                  26               11.    The City alleges that, as to each cause of action with regard to the named and Doe
                  27     Defendants set forth herein, each of said Defendants at times acted together to cause injury or
                  28     harm to the City.
BURKE, WILLIAMS &        LA#4841-1165-0640v1                                -   3   -
  SORENSEN, LLP
  ATTORNEYS AT LAW
    LOS ANGELES
                            FIRST AMENDED COMPLAINT FOR DAMAGES FOR NEGLIGENCE AND BREACH OF CONTRACT
     Case 2:17-cv-07240-RGK-SS Document 6-1 Filed 10/03/17 Page 21 of 29 Page ID #:68




                     1                                    VENUE AND JURISDICTION
                     2            12.     The accounting services that are the subject matter of this Complaint were
                     3   performed in the County of Ventura.
                     4           13.      The Complaint involves damages in excess of $25,000.
                     5                                      GENERAL ALLEGATIONS

                     6            14.     From 2004 through 2012, the City contracted with Mayer Hoffman to provide
                     7   auditing services concerning the City’s CAFR, including, without limitation, its June 30 fiscal
                     8   year-end financial statements. Mayer Hoffman knew Plaintiff would be using and relying upon
                     9   its auditing and accounting services, and intended for Plaintiff to rely on those services.
                  10              15.     Defendant held itself out to the public and to the City as a firm of qualified,
                  11     certified public accountants and auditors, and otherwise represented to the City that it possessed
                  12     the requisite knowledge, skill, and expertise to execute the auditingservices it was hired to
                  13     perform for the City, as a public entity in the State of California. Over the course of eight years,
                  14     however, Mayer Hoffman performed substantially the same audit and staffed its audit teams with
                  15     inexperienced auditors, despite knowing the City would be using and relying upon its auditing
                  16     and accounting services.
                  17             16.      The City had no reason to believe or to suspect that the Mayer Hoffman auditors
                  18     had committed professional negligence in its audits of the City~ s financial statements because
                  19     each year Mayer Hoffman’s independent auditor’s reports stated that there were no identifiable
                  20     deficiencies (in the internal controls or accounting systems) considered to be material weaknesses
                  21     and that all financial statements presented fairly. Year after year, Mayer Hoffiuian’s rubber-
                  22     stamped audits affirmed that the City’s internal controls and accounting systems were proficient
                  23     enough to provide support for the issuance of unmodified opinions of the City’s financial
                  24     statements. These unqualified audit opinions served as an assurance to the City that its own
                  25     perception of its financial health was valid and that its accounting systems were reliable.
                  26             17.      Stated in the alternative, Mayer Hoffman indicated that it could confidently rely on
                  27     the City’s internal controls and accounting systems because it used these very systems to gain
                  28     assurance that the City’s financial statements were free from material misstatement, whether
BURKE, WILLIAMS 6~       LA#4841-1165-0640v1                              4..
  SORENSEN, LLP
  ATTORNEYS AT LAW
    Los ANGELES
                            FIRST AMENDED COMPLAINT FOR DAMAGES FOR NEGLIGENCE AN]) BREACH OF CONTRACT
     Case 2:17-cv-07240-RGK-SS Document 6-1 Filed 10/03/17 Page 22 of 29 Page ID #:69
                                                                                        n
                     1   caused by fraud or error. EP’s 2015 audit initiated the discovery of major financial issues that
                     2   were unidentified for years by the accounting professionals at Mayer Hoffman.
                     3           18.    Mayer Hoffirtan’s clean audit reports and assurances caused the deterioration of
                     4   Oxnard’ s financial situation each year. In complete contradiction to Mayer Hoffman’s audits,
                     5   EP’s 2015 financial report issued qualified opinions on multiple units due to “a limitation on the.
                     6   audit scope resulting from the inability ofthe City’s capital asset accounting systems to provide
                     7   information adequate to audit capital assets and construction in progress.” EP recognized that the
                     8   City’s capital asset accounting systems and internal controls were inadequate and, therefore,
                     9   could not support a reliable presentation of the City’s financial statements.        -




                 10              19.     Mayer Hoffman failed to perform its auditing and accounting services in
                 11.     accordance with GAAS because it failed to identif~r numerous violations of generally acàepted
                 12      accounting principles (“GAAP”) and standards established by the Governmental Accounting
                 13      Standards Board (“GASB”). These violations included, but are not limited to, the following,
                 14      which a properly planned audit in accordance with GAAS should have disclosed and required
                 15      Mayer Hoffman to timely disclose to the City:
                 16                      (a)    Decision-making Based On False Confidence in the City’s Financial
                 17                      Position
                 18                      If Mayer Hoffman had exercised reasonable care in the assessment of the City’s
                 19               accounting systems, it would have informed the City of the risk presented by its internal
                 20               control environment. After extensive and expensive review processes were initiated,
                 21               asset inventory and valuation consultants determined that material, inventoried moveable
                 22               assets were not recorded in the City’s finance records and that substantial records could
                 23              not be found. Additions and deletions were not maintained and these problems date back
                 24              to the years Mayer Hoffman was the City’s independent auditor;
                25                      (b)     Incorrect Assessment of Landscape and Maintenance Districts
                 26                     Mayer Hoffman never notified the City that twenty six (26) of its Benefit
                 27               Assessment Districts were not covering its annual operating costs. Fund balance deficits
                 28                 grew to $3.1 million for the in-debt landscape and maintenance districts because the City
BURKE, WIu.IAMS &        LA #4841-1165-0640 vi                            -  5-
  SOI~ENSEN, LLP
  ArToRN,,, Ar LAW
    Ios A~ia~s
                            FIRST AMENDED COMPLAINT FOR DAMAGES FORNEGIJGENCB AND BREACH OF CONTRACT
     Case 2:17-cv-07240-RGK-SS Document 6-1 Filed 10/03/17 Page 23 of 29 Page ID #:70




                     1             was using pooled cash where it should have been using monies only from the taxes or

                     2             fees received by each individual district;
                     3                    (c)    Golf Course & Performing Arts Convention Center Operating Deficits
                     4                    The City’s Golf Course and Performing Arts Convention Center (“PACe”)
                     5             operations have required an annual General Fund subsidy of over $1 million for the past
                     6             16 years. The City cannot cover these operating deficits. Had Mayer Hoffman issued
                     7             fair and accurate audit opinions regarding the City’s financial state and debt obligations,
                     8             the City would have made operations adjustments and other decisions to avoid the
                     9             continuation of this unnecessary deficit. Additionally, a specialized internal audit
                 10                program focusing on these funds was developed by the Price Paige firm, the internal
                 11                auditor recently engaged by the City. The cost of this newly implemented program
                 12                should have been avoided;
                 13                       (d)    Deficient Development Impact Fee Program
                 14                     During Mayer Hoffman’s years as the City’s independent auditor, the City’s
                 15                development impact fee program—created to provide the ability to charge new
                 16                developers costs associated with the public infrastructure needs that result from
                 17                development growth—was not legally up to date. The City’s impact fees had not been
                 18                reviewed in decades. This error resulted in significantly less financial recovery for the
                 19                City’s Capital Improvement Program;
                 20                     As a result of years of undetected oversight, the City has had to hire a consulting
                 21                firm and acquire additional resources to develop a nexus study and a proposal for new
                 22                rates. The consulting firm confirmed that the impact fee program was majorly deficient
                 23                and exposed the City to substantial legal risk, requiring the City to immediately get into
                 24                compliance, costing upwards of $500,000; and
                 25                       (e)    Millions of Dollars In Uncollected Notes Receivables
                 26                      In 2015, EP discovered that $56 million in long-term notes receivable were not
                 27                previously booked by the City. Deferred revenues reflecting funds expected for future
                 28                repayments associated with these notes increased non-major fund liabilities. Because
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                      1            Mayer Hoffman missed the lack of notes receivable, the City’s chance at collecting
                      2            repayment considerably decreased.
                      3           In addition, as the City’s auditor, Mayer Hoffman was required to assess internal controls
                      4   as part of planning its audits and establishing adequate testing procedures and should have been
                      5   meticulously familiar with the gathering of information that formed the bases ofthe City’s
                      6   financial statements, as well as the internal controls that were put in place to ensure that the
                      7   information was accurate and reliable. Indeed, GAAS requires an auditor to gain an
                      8   understanding of internal controls sufficient to assess the risk of a material misstatement. Mayer
                      9   Hoffman was in the unique position to assess, and was expected to assess in accordance with
                  1•0     GAAS, the quaiity of information the auditors were given to audit, the adequacy of support for
                  11      the City’s financial statements, and the internal controls that should have been in place to ensure
                  12      the accuracy and reliability of that information. The assessment of the City’s internal controls
                  13      performed by Mayer Hoffman in connection with its audits of the City’s financial statements did
                  14      not comport with GAAS.
                  15              20.      In a direct contravention of customs, standards, and practices that are typical in the
                  16      practice of auditing and accounting, Mayer Hoffman failed to notify the City of the following
                  17      lack of internal controls, among others, relevant to the presentation and preparation of the City’s
                  18      financial statements that were audited by Defendant:
                  19                       (a)    There were no standard procedures to create cash journal entries;
                  20                       (b)    There was no effective general ledger system and the City was using
                  21      heavily outdated HTE software with severe functional limitations;
                  22                       (c)    A reconciliation of accounts receivable against the general ledger was not
                  23      performed periodically or at year-end and the review of aging and collections for utilities was not
                  24      centralized in the Finance Department;
                  25                       (d)    There were no written accounting policies and procedures that specified the
                  26      correct treatment for estimating the allowance for uncollectible accounts and bad debt expense;
                  27                       (e)    There were no policies or procedures in place to capture new debt
                  28      agreements and capital leases; and
BURKE, WILLIAMS &         LA#4841-1165-0640v1                               -7   -
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                    1                  (f)     The City improperly recorded the municipal golf course and PACC funds
                    2   as business-type activities instead of government-type activities.
                    3          21.     Mayer Hoffman consistently rated control risk as low for the City, despite the
                    4   obvious deficiencies. Although Mayer Hoffman will argue today that the City should have
                    5   discovered the internal controls and accounting systems issues affecting the City’s operations, or
                    6   should have had different financial recommendations from its staff, the fact is that Mayer
                .7      Hoffman’s failure to understand, appreciate, or bring to the Plaintiff’s attention the material issues
                    8   involved in the internal control environment left the City vulnerable to the compliance,
                    9   administrative, accounting, and financial issues it now faces.
                10              22.     Because Mayer Hoffman failed to communicate to the City the material failures in
                11      its internal controls, and because the auditors did not modify its audit opinions as required by
                12      GAAS when such failures led to materially misstated financial information, the City reasonably
                13      relied upon its unqualified audit opinions.
                14             23.      The lack of internal controls materially and substantially led to the City’s current,
                15      jeopardized financial situation. Had the above-described internal controls been in place, the City
                16      would not have incurred the following additional “aftermath” costs:
                17                      (a)     Inability to Secure Letters of Credit
                18                      Because Mayer Hoffman issued clean audits, the City entered into long-term debt
           •    19               obligations with various financial institutions. Among the financial institutions
               20                supporting the City’s debt obligations was MUFG Union Bank (“Union Bank”), which
               21               provided letters of credit for Wastewater Revenue Bonds and Lease Revenue Bonds.
               22                Union Bank is declining to renew its letter of credit. The City is also vulnerable to a
               23                swap term.ination.that would result in the need to pay off a $16 million loan immediately,
               24                as well as a $4 million penalty. An event of default could result in over $100 million in
               25                outstanding debt becoming due and payable.
               26                       (b)     Delayed Refinancing of Outstanding Debt
               27                       As a direct result of Mayer Hoffman’s negligence, the City will be required to
               28                 enter the debt market to fund necessary improvements to its utility funds, as well as to
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                   1            fund government-related and business-related activities. A large debt issue can cause
                   2            millions of dollars in interest costs to City residents, based on different credit ratings.
                   3            Had Mayer Hoffman highlighted the serious problems in the City’s utility funds, the City
                   4            would have made different financial decisions and would find itself in a much stronger
                   5            financial position today, without the need for such a level of indebtedness. The City
                   6            could have and would have pushed through rate adjustments and refinanced sooner.
                   7            Instead, the City will be subject to much higher interest rates on necessary debt.
                   8                    (c)    $16 Million Dollar Loan And Belated Infrastructure Repairs
                   9                    After uncovering the City’s true financial situation, which was unknown to the
               10               City during and immediately after the years Mayer Hoffman issued its audits, the City
               11               was forced to manage the serious threat of insolvency and preserve the General Fund
               12               balance. As a result of the foregoing, the City approved a $16 million dollar loan from
               13               the Measure 0 Fund. The original purpose of the Measure 0 ordinance was to provide
               14               enhanced levels of vital city services, including increasing street paving and
               15               sidewalk/pothole repair to improve traffic flow, upgrading storm water drains, improving
               16               senior services, increasing building code compliance, and improving other infrastructure-
               17               related City services.
               18                       Due to the necessary interfund loan, the Measure 0 repair plans had to be put on
               19               hold. Now, the City will have to pay more money for more complicated improvement
               20               services. Delayed repairs could result in enhanced ii±astructural depletion. For
               21               example, roads that might have requiredbasic overlay will now necessitate complete
               22               removal and replacement.
               23                       (d)    Necessary Consulting Costs
               24                       As a result of Mayer Hoffman’s deficient audits, the City hired EP to conduct a
               25               review of over a decade of issues and material misstatements, consult with City staff and
               26               counsel, present findings, and make hundreds of recommendations for improving the
               27               City’s fmancial affairs and internal controls. EP also did a comprehensive analysis to
               28               determine the gravity of the City’s financial position and its vulnerability to additional
BURKE, WIL.LIAMS &     LA#4841-1165-0640v1                               9-   -
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                                             n
                     1             material misstatements, due to fraud or error. These services have resulted in

                     2             approximately $1.2 million dollars in additional costs to the City. EP made necessary

                     3             and significant prior period adjustments, many resulting from overlooked serious issues
                     4             relating to the City’s outdated technological and industrial infrastructure. The City has

                     5             also had to implement costly information technology master plans, fleet maintenance,

                     6             and internal audit programs—totaling to millions of dollars in additional expenses.
                     7.                                     FIRST CAUSE OF ACTION
                     8                                        (Professional Negligence)
                     9                    (Against Defendant Mayer Hoffman and Does 1 through             100)
                 10               24.    The City realleges and incorporates by reference the allegations ofparagraphs 1

                 11       through 23 of this Complaint as though set forth in full.
                 12               25.    Mayer Hoffman and Does 1 through 100 each owed the City a duty of care, and

                 13       the duty to competently perform the auditing services that they were hired by the City to perform

                 14       in accordance with due professional care as set forth in GAAS and as legally required by holding

                 15       themselves out as certified public accountants.

                 16               26.    By committing the errors and omissions described in detail above in this

                 17       Complaint, Mayer Hoffman and Does I through 100, and each of them, breached the duty of due
                 18       professional care owed to the City. The breach of these duties constitutes negligence.

                 19               27.    As a direct, legal and proximate result of the negligence of Mayer Hoffman and

                 20       Does 1 through 100, the City has incurred damages in an amount that will be proved at trial but

                 21       which is well in excess of the jurisdictional minimum of this court.
                22                                        SECOND CAUSE OF ACTION
                 23                                             (Breach of Contract)
                24                       (Aj~ainst Defendant Mayer Hoffman and Does 25 through 100)
                25               28.     The City realleges and incorporates by reference the allegations of paragraphs 1

                26        through 23 of this Complaint as though set forth in full.
                27                29.    The City and Mayer Hoffman entered into several written agreements in
                28        connection with the auditing services Mayer Hoffman provided to the City for each of the years
BURICE, WILLIAMS     &    LA #4841-1165-0640 vi                         10—    —
  SORENSEN, LLP                                                                       ________________________________________
  ATTORNEYS AT LAW           FIRST AMENDED COMPLAINT FOR DAMAGES FOR NEGLIGENCE AND BREACH OF CONTRACT
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                     1    between 2004 though 2012. Each agreement provides that Mayer Hoffman shall indemnify the
                     2    City for, among other things, any acts, errors or omissions of Mayer Hoffman, its employees,
                     3   representatives, subcontractors, or agents in the performance of the auditing services.
                     4             30.       By not performing in compliance with the contractual requirements and also
                     5    engaging in the acts, errors and omissions described in detail above in this Complaint, Mayer
                     6   HofThian legally and proximately caused the City to incur in excess of $1 million in damages,
                     7    according to proof.
                     8             31.       Mayer Hoffman breached its contractual•duties to the City by refusing to
                     9   indemnify the City for all costs resulting from Mayer Hoffman’s acts, errors, or omissions,
                    10   including attorneys’ fees and other costs, incurred by the City in order to legally comply with
                    11   accounting and finance obligations.
                    12             32.       As a direct, legal and proximate result of the breaches of contract by Mayer
                    13   Hoffman, the City has incurred damages in an amount that will be proved at trial but which is in
                    14   excess of the jurisdictional minimum of this court.
                    15                                           1~’RAYER FOR RELIEF
                    16             The City prays for judgment against Defendant Mayer Hoffman as follows.
                    17                       For Special, General and Consequential Damages according to proof at trial.
                    18             2.        For interest at the legal rate on all amounts awarded;
•                   19             3.        For attorney’s fees as prevailing party and costs of suit incurred herein; and
                    20            4.         For further and other relief as the court deems just and proper.
                    21
                    22   Dated: September 25, 2017                                    BURKE, WILLIAMS & SORENSEN, LLP
                    23
                    24                                                                By:______________
                                         .                                                     Charles B. Slyng d
                    25                                                                         Brian S. Ginter
                                                                                               Lauren T. Krapf
                    26                                                                Attorneys for Plaintiff
                                                                                      CITY OF OXNARD
                    27
                    28
    BURKE, WILLIAMS &    LA #4841-1165-0640 vi                               -   11   —
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                 SUMMONS ON FIRST AMENDED COMPLAINT                                                                   (SOLO PARA USa Off LA dORT~)
                                    (CITA CION JUDICIAL)
NOTICE TO DEFENDANT:                                                                                                          VENTURA,
                                                                                                                           SUPERIOR COURT
(AVISO AL DEMANDADO):
MAYER HOFFMAN McCANN P.C., a Missouri corporation, and DOES 1                                                                    RLED
through 100
                                                                                                                                SEP 25 2017
YOU ARE BEING SUED BY PLAINTIFF:                                                                                   MICJ~EL Ø~PLANET
(LO ESTA DEMANDANDO EL DEMANDANTE):                                                                               E/~4$~p/ç~fic and Clerk
CITY OF OXNARD, a municipal corporation                                                                       BY: (,4Vkk~LJ            Deputy        ,



                                                                                                                         ADR1ANA VELASCO
 NOTICEI You have been sued. The court may decide against you without your being.heard unless you respond within 30 days. Read the information
 below.
    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
 case. There may be a court form that you can Use for your response. You can find these court forms and more Information at the California Courts
 Online Self-Help Center (www.ceurtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
 the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
 may be taken without further warning from the court.
    There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
 (www.courtinfe.ca.gov/selffielp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more in a civil case. The courts lien must be paid before the court.will dismiss the case.
 jA VISOI Lo han demandado. SI no responde dentro de 30 dlas, Ia corte puede decidir en su contra sin escuchar su versiOn. Lea Ia infonnaciOn a
 confinuaciOn.
    Tiene 30 DIAS DE CALENDARIO dospuOs do que le entreguen esfa cifaciOn y papeles legates pam presenter una respuesta per esdrito en esta
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 podra quifar su sueldo, dinero y bienes sin més advortencia.
    Hay otros requisites Icgales. Es recornendable quo Ilame a un abogado inmediatarnente., Si no conoce a un abogado, puede ilamar a un se,vicio do
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 (www.lawhelpcalifornia.org), on el Centre do Ayuda do las Certes do California, (www.sucorte.ca.gov) o peJ~iendose en con facto con Ia corte eel
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The name and address of the court is:                                                                     CASE NUMBER;
                                                                                                          ~‘NOmera del daso~:
(El nombre y dirección de ía carte es):
Superior Court of California, County of Ventura                                                           56-2017-00501 459-CU-PN-VTA          —~

Main Courthouse, Hall of Justice
800 S. Victoria Avenue
Ventura, CA 93009
The name, address, and telephone number of plaintiff’s attorney, or plaintiff without an attorney, Is:
(El nombre, ía direociOn y elnümero do teléfono del abegado cia! demandante, ode! demandante quo no tiene abogada, es):
Charles E. Slyngstad, SBN 89103, Burke, Williams & SorensenL LLP
444 S. Flower Street, Suite 2400, Los Angeles, CA 90071   Michaet D Planet
Telephone: (213)236.0600 Facsimile: (213)236.2700                                  i’.t      1 1
DATE:                      SEP 2 5 2011                            Clerk by             (V~L~L1d  II                                                       Deputy
(Fecha)                                                             (Secrets rio) IA.                         ADR~ANA VELASCO                             (Adjunto)
(Forproof of service of this summons, use Proof of Service of Summons (form POS-Olo).)
(Pam prueba do antrega do esta citation use el fannulanlo Proof of Service of Summons, (POS-O1O)).
 [SEAL]     ~                    NOTICE TO THE PERSON SERVED: You are served
                                      1.     ~ as an individual defendant.
                                      2.     Q as the person sued under the fictitious name of (specify):
                                      3.     0 on behalf of (specify):
                                           under:     0 CCP 416.10 (corporation)                                     CCP 416.60 (minor)
                                                      Li CCP 416.20 (defunct corporation)                        LI CCP 416.70 (conservatee)
                                                      LI CCP 416.40 (association or partnership)                 LI CCP 416.90 (authorized person)
                                                      U other (specify):
                                      4.    ~ by personal delivery on (date):
                                                                       _____________________________________________                                        Page 1 of 1
 Form Adopted (or Mandatory uae                                         SUMMONS                         American LegalNet, Inc.1   Code of ClvilProcedure §5412.20,465
   Judicial CounciZ of California                                                                       wa’a~FormsWo,kflow.com                      www.courtinfo~ca.gov
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